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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                                       Case No. 16-cv-60364-WPD

   ASHLEY MOODY and AUTUMN TERRELL
   on behalf of themselves and on
   behalf of all others similarly situated

           Plaintiffs,

   v.

   ASCENDA USA INC. d/b/a 24-7 INTOUCH,
   and VERIFIED CREDENTIALS, INC.,

           Defendants.
                                                /

        ORDER GRANTING MOTION FOR FINAL APPROVAL OF CLASS ACTION
          SETTLEMENT AND FINAL JUDGMENT AS TO CLAIMS AGAINST
                DEFENDANT ASCENDA USA INC. d/b/a 24-7 INTOUCH
          AND APPROVING AND AWARDING ATTORNEYS’ FEES AND COSTS


           On October 24, 2017, this Court granted preliminary approval to the proposed class

   action settlement set forth in the Stipulation and Settlement Agreement (the "Settlement

   Agreement") between Plaintiffs Ashley Moody and Autumn Terrell ("Plaintiffs" or "Named

   Plaintiffs"), on behalf of themselves and all members of the Settlement Class, and Defendant

   Ascenda USA, Inc. d/b/a 24-7 Intouch ("Ascenda") (collectively, the "Parties"). The Court also

   provisionally certified the Settlement Class for settlement purposes, approved the procedure for

   giving Class Notice to the Settlement Class Members, and set a final approval hearing to take

   place on March 9, 2018 @ 1:30 p.m. The Court finds that the notice to the Settlement Class

   substantially in the form approved by the Court in its Preliminary Approval Order was given in

   the manner ordered by the Court, constitutes the best practicable notice, and was fair, reasonable,
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   and adequate.

          On March 9, 2018 @ 1:30 p.m., the Court held a duly noticed final approval hearing

   to consider: (1) whether the terms and conditions of the Settlement Agreement are fair,

   reasonable and adequate; (2) whether a judgment should be entered dismissing the Named

   Plaintiffs Complaint on the merits and with prejudice in favor of Ascenda and against all

   persons or entities who are Settlement Class Members herein who have not requested

   exclusion from the Settlement Class; and (3) whether and in what amount to award counsel

   for the Settlement Class as Attorneys' Fees and Expenses and whether and in what amount to

   award a Service Award to each Named Plaintiff.

   IT IS HEREBY ORDERED THAT:

          1.       The Court has subject matter jurisdiction to approve the Settlement Agreement,

   including all Exhibits thereto, and to enter this Final Order and Judgment. Without in any

   way affecting the finality of this Final Order and Judgment, this Court hereby retains

   jurisdiction as to all matters relating to administration, consummation, enforcement, and

   interpretation of the Settlement Agreement and of this Final Order and Judgment, and for any

   other necessary purpose.

         2.        The Settlement Agreement was negotiated at arm's length by experienced

   counsel who were fully informed of the facts and circumstances of this litigation (the

   "Action") and of the strengths and weaknesses of their respective positions. The Settlement

   Agreement was reached after the Parties had engaged in mediation and extensive settlement

   discussions and after the exchange of information, including information about the size and

   scope of the Settlement Class. Counsel for the Parties were therefore well positioned to

   evaluate the benefits of the Settlement Agreement, taking into account the expense, risk, and
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   uncertainty of protracted litigation.

          3.      The Court finds that the prerequisites for a class action under Fed. R. Civ. P.

   23(a) and Fed. R. Civ. P. 23(b) have been satisfied for settlement purposes only for each

   Settlement Class Member in that:        (a) the number of Settlement Class Members is so

   numerous that joinder of all members thereof is impracticable; (b) there are questions of law

   and fact common to the Settlement Class; (c) the claims of the Named Plaintiffs are typical of

   the claims of the Settlement Class they seek to represent; (d) Named Plaintiffs have and will

   continue to fairly and adequately represent the interests of the Settlement Class for purposes

   of entering into the Settlement Agreement; (e) the questions of law and fact common to the

   Settlement Class Members predominate over any questions affecting any individual

   Settlement C lass Member; (f) the Settlement Class is ascertainable; and (g) a class action is

   superior to the other available methods for the fair and efficient adjudication of the

   controversy.

          4.      Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies the

   Settlement Class, as identified in the Settlement Agreement, which consists of the Disclosure

   Form Settlement Class and the Pre-Adverse Action Notice Subclass.

                  (a)    The Disclosure Form Settlement Class, as identified in the Settlement

   Agreement, consists of all Ascenda applicants or employees who signed the Disclosure and

   Authority to Release Information Form (the "D&A Form"), attached as Exhibit B to

   Plaintiffs' Second Amended Complaint, after January 1, 2014 and for whom Ascenda

   procured a consumer report for employment purposes, as identified on the Settlement Class

   List. Excluded from the Disclosure Form Settlement Class are all individuals who file a
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   timely and proper request to be excluded from the Settlement Class in accordance with the

   Settlement Agreement.

                 (b)     The Pre-Adverse Action Notice Subclass, as identified in the Settlement

   Agreement, consists of all members of the Disclosure Form Settlement Class who were

   terminated from or denied employment or promotion with Ascenda based in whole or in part

   on the results of their background check report.

            5.   The Court finally appoints attorneys means Luis A. Cabassa and Brandon J.

   Hill of the law firm Wenzel Fenton Cabassa, P.A., and Leonard A. Bennett and Craig C.

   Marchiando of Consumer Litigation Associates, P.C. as Class Counsel for the Settlement

   Class.

            6.   The Court finally designates Named Plaintiffs Ashley Moody and Autumn

   Terrell as the Class Representatives.

            7.   The Court makes the following findings on notice to the Settlement class.

                 (a)     The Court finds that the distribution of the Class Notice, as provided for

   in the Settlement Agreement, (i) constituted the best practicable notice under the

   circumstances to Settlement Class Members, (ii) constituted notice that was reasonably

   calculated, under the circumstances, to apprise Settlement Class Members of, among other

   things, the pendency of the Action, the nature and terms of the proposed Settlement, their

   right to object or to exclude themselves from the proposed Settlement, and their right to

   appear at the Final Approval Hearing, (iii) was reasonable and constituted due, adequate, and

   sufficient notice to all persons entitled to be provided with notice, and (iv) complied fully

   with the requirements of Fed. R. Civ. P. 23, the United States Constitution, the Rules of this
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   Court, and any other applicable law.



                 (b)     The Court finds that the Class Notice and methodology set forth in the

   Settlement Agreement, the Preliminary Approval Order, and this Final Order and Judgment

   (i) constitute the most effective and practicable notice of the Final Order and Judgment, the

   relief available to Settlement Class Members pursuant to the Final Order and Judgment, and

   applicable time periods; (ii) constitute due, adequate, and sufficient notice for all other

   purposes to all Settlement Class Members; and (iii) comply fully with the requirements of Fed.

   R. Civ. P. 23, the United States Constitution, the Rules of this Court, and any other applicable

   laws.

           8.    The Settlement Agreement is finally approved in all respects as fair, reasonable

   and adequate pursuant to Fed. R. Civ. P. 23(e). The terms and provisions of the Settlement

   Agreement, including all Exhibits thereto, have been entered into in good faith and are hereby

   fully and finally approved as fair, reasonable, and adequate as to, and in the best interests of,

   each of the Parties and the Settlement Class Members.

           9.    The Court approves the distribution of the Settlement Fund, as described in the

   Settlement Agreement, as fair, reasonable, and adequate, and the Settlement Administrator is

   authorized to distribute the Settlement Fund in accordance with the terms of the Settlement

   Agreement.

           10.   The Parties are hereby directed to implement and consummate the Settlement

   Agreement according to its terms and provisions.

           11.   Pursuant to Fed. R. Civ. P. 23(h), the Court hereby awards Class Counsel
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   Attorneys' Fees and Expenses in the amount of Three Hundred Sixty Three Thousand Dollars

   and Zero Hundreds ($363,000.00) payable pursuant to the terms of the Settlement Agreement.

   The Court also awards a service award in the amount of Five Thousand Dollars and Zero

   Hundreds ($5,000.00) to each Plaintiff payable pursuant to the terms of the Settlement

   Agreement.

          12.     The terms of the Settlement Agreement and of this Final Order and Judgment,

   including all Exhibits thereto, shall be forever binding on, and shall have res judicata and

   preclusive effect in, all pending and future lawsuits maintained by the Plaintiff and all other

   Settlement Class Members, as well as their heirs, executors and administrators, successors,

   and assigns.

          13.     The Releases, which are set forth in Section V of the Settlement Agreement and

   which are also set forth below, are expressly incorporated herein in all respects and are

   effective as of the date of this Final Order and Judgment; and the Released Persons (as that

   term is defined below and in the Settlement Agreement) are forever released, relinquished,

   and discharged from all Released Claims (as that term is defined below and in the Settlement

   Agreement).

                  (a)    Release And Waiver Definitions.

                         (i)    "Release" or "Releases" means the releases of all Released

   Claims against the Released Persons, as provided for in Section V of the Settlement

   Agreement.

                         (ii)   "Released Claims" means all claims, actions, causes of action,

   suits, debts, sums of money, payments, obligations, defenses, reckonings, promises, damages,
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   penalties, attorney's fees and costs, liens, judgments, demands, and any other forms of liability

   released pursuant to Section V of the Settlement Agreement.       Released Claims specifically

   exclude any claims brought against Verified Credentials, Inc. ("Verified") that are not based

   upon the conduct, actions, or omissions of Ascenda, which includes those claims brought

   against Verified under 15 U.S.C. § 1681k and§ l68Ii in this Action.            Released Claims

   include any claims against Verified that are based upon the conduct, actions, or omissions of

   Ascenda.

                         (iii)   "Released Persons" means Ascenda and its respective present,

   former, and future affiliates, parents, subsidiaries, corporate family members, officers,

   directors, partners, employees, agents, heirs, administrators, executors, members, member

   entities, shareholders, predecessors, successors, agents, representatives, trustees, principals,

   assigns, and insurers individually, jointly, and severally. Released Persons specifically shall

   exclude Verified with respect to any claims that are not based upon the conduct, actions, or

   omissions of Ascenda.

                         (iv)    "Settling Parties" means, collectively, Ascenda, Named

   Plaintiffs, and all Settlement Class Members.

                 (b)     Releases of Claims. On the Settlement           Effective Date, for the

   Settlement Class' benefits and for other good and valuable consideration, the receipt and

   sufficiency of which are hereby acknowledged, Plaintiffs and all Settlement Class Members

   who have not timely and properly opted out of the Settlement, and each of their respective

   spouses, heirs, executors, trustees, guardians, wards, administrators, representatives, agents,

   attorneys (except for the law firm of Wenzel Fenton Cabassa, P.A.), partners, successors,
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   predecessors and assigns, and all those acting or purporting to act on their behalf, fully and

   forever release, waive, acquit, and discharge Ascenda and the Released Persons from any

   and all claims, actions, causes of action, suits, defenses, debts, sums of money, payments,

   obligations, promises, defenses, damages, penalties, attorney's fees and costs, liens,

   judgments, and demands of any kind that arise out of or relate directly or indirectly in any

   manner whatsoever to the facts alleged or which could have been alleged or asserted in the

   Complaint in this Action, and all amendments thereto, including any and all claims under 15

   U.S.C. § 168lb(b)(2)(A) and 15 U.S.C. § 168lb{b)(3) of the FCRA. It is expressly intended

   and understood by the Parties that this Settlement Agreement is to be construed as a complete

   settlement, accord, and satisfaction of the Settlement Class Members' Released Claims, and

   all of the Released Claims shall be dismissed with prejudice as to claims that could have been

   brought in this case, even if the Settlement Class Member never received actual notice of the

   Settlement prior to the Final Approval Hearing.

                  (c)    Voluntary Release Of Unknown Claims. Plaintiffs and each Settlement

   Class Member have knowingly and voluntarily waived any and all provisions, rights, and

   benefits conferred by statute, rule and legal doctrine similar, comparable, or equivalent to

   California Civil Code Section 1542, which provides that:

          A general release does not extend to claims which the creditor does not
          know or suspect to exist in his or her favor at the time of executing the
          release, which if known by him or her must have materially affected his
          or her settlement with the debtor.

   Plaintiffs and each Settlement Class Member recognize that, even if they may later discover

   facts in addition to or different from those which they now know or believe to be true, they

   nevertheless agree that, upon entry of the Final Judgment, they fully, finally, and forever settle
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   and release any and all claims covered by these Releases. The Settling Parties, including all

   Settlement Class Members, acknowledge that the foregoing Releases were bargained for and

   are a material element of the Agreement.


                 (d)     Sole and Exclusive Remedy. This Agreement sets forth the sole and

   exclusive remedies for any Released Claims. No court or arbitrator may award damages or

   relief of any kind, including compensatory, punitive, or multiple damages, with respect to any

   Released Claim, and no Settlement Class Member may serve as a representative plaintiff

   with respect to such a claim or remain in any action or permit himself or herself to be

   represented by a third party in any action in which such a claim is asserted.


                 (e)     Authority of Court.   The administration and implementation of the

   Settlement as embodied in this Settlement Agreement shall be under the authority of the

   Court. The Court shall retain jurisdiction to protect, preserve, and implement the Settlement

   Agreement, appropriate administering and implementing the terms and provisions of the

   Settlement Agreement.



                 (f)     Enforcement. Nothing in this Settlement Agreement and Releases

   shall preclude any action to enforce the terms of the Settlement Agreement, including

   participation in any of the processes detailed herein.


          14.    All Settlement Class Members who did not timely exclude themselves from

   the Settlement Class are, from this day forward, hereby permanently barred and enjoined

   from directly or indirectly: (i) asserting any Released            Claims       in any action or
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    proceeding; (ii) filing, commencing, prosecuting, intervening in, or participating in (as

    class members or otherwise), any lawsuit based on or relating to any the Released Claims

    or the facts and circumstances relating thereto; or (iii) organizing any Settlement Class

    Members into a separate class for purposes of pursuing as a purported class action any

    lawsuit (including by seeking to amend a pending complaint to include class allegations, or

    seeking class certification in a pending action) based on or relating to any of the Released

    Claims.

           15.    Promptly after the Final Settlement Date, Settlement Class Members shall

    dismiss with prejudice all claims, actions, or proceedings that have been brought by any

    Settlement Class Member and that have been released pursuant to the Settlement

    Agreement and this Final Order and Judgment.


           16.    Neither the Settlement Agreement, nor any of its terms and provisions, nor

    any of the negotiations or proceedings connected with it, nor any of the documents or

    statements referred to therein, nor this Final Order and Judgment, nor any of its terms and

    provisions, shall be:

                  (a)       offered by any person or received against Ascenda as evidence or

    construed as or deemed to be evidence of any presumption, concession, or admission by

    Ascenda of the truth of the facts alleged by any person, the validity of any claim that has been

    or could have been asserted in the Litigation or in any other litigation or judicial or

    administrative proceeding, the deficiency of any defense that has been or could have been

    asserted in the Litigation or in any litigation, or of any liability, negligence, fault, or
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    wrongdoing by Ascenda;

                 (b)      offered by any person or received against Ascenda as evidence of a

    presumption, concession, or admission of any fault, misrepresentation, or omission with

    respect to any statement or written document approved or made by Ascenda; or

                  (c)     offered by any person or received against Ascenda as evidence of a

    presumption, concession, or admission with respect to any liability, negligence, fault, or

    wrongdoing in any civil, criminal, or administrative action or proceeding.

           17.    This Final Order and Judgment and the Settlement Agreement (including the

    Exhibits thereto) may be filed in any action against or by any Released Person (as that term

    is defined herein and the Settlement Agreement) to support a defense of res judicata,

    collateral estoppel, release, good faith settlement, judgment bar or reduction, or any theory

    of claim preclusion or issue preclusion or similar defense or counterclaim.

           18.    Without further order of the Court, the Settling Parties may agree to reasonably

    necessary extensions of time to carry out any of the provisions of the Settlement Agreement.

           19.    In the event that the Final Settlement Date does not occur, this Final Order and

    Judgment shall automatically be rendered null and void and shall be vacated and, in such

    event, all orders entered and releases delivered in connection herewith shall be null and void.

    In the event that the Final Settlement Date does not occur, the Settlement Agreement shall

    become null and void and be of no further force and effect, neither the Settlement Agreement

    nor the Court's Orders, including this Order, shall be used or referred to for any purpose

    whatsoever, and the Parties shall retain, without prejudice, any and all objections, arguments,

    and defenses with respect to class certification, including the right to argue that no class
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    should be certified for any purpose, and with respect to any claims or allegations in this

    Litigation.



           20.    This Action, including all individual claims and class claims presented herein,

    is hereby dismissed on the merits and with prejudice against Plaintiffs and all other Settlement

    Class Members, without fees or costs to any party except as otherwise provided herein.

           21.    The Clerk is directed to CLOSE this case and DENY AS MOOT any pending

    motions.

           DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

    this 9th day of March, 2018.




    Copies furnished to:

    Counsel of record
